NB:JRS
F. #2023R00977

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
- against -
DOUGLAS ENGSTROM,
Defendant.
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THE GRAND JURY CHARGES:

FILED
IN CLERK'S OF
U.S. DISTRICT COURT EDN y

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LONG ISLAND OFFICE

INDICTMENT
Cr. No.

CR 2
(T. 18, U.S.C., §§ atten QO a fo

3551 et seq.; T. 21, U.S.C., § 853(p))

CHOUDHURY, J.

DUNST, M.J.

ATTEMPTED INTERSTATE COERCION AND ENTICEMENT OF A MINOR

1. In or about December 2023, within the Eastern District of New York

and elsewhere, the defendant DOUGLAS ENGSTROM, using one or more facilities and

means of interstate and foreign commerce, to wit: a mobile telephone, the Internet and

mobile Internet applications, did knowingly and intentionally attempt to persuade, induce,

entice and coerce an individual who had not attained the age of 18 years, to wit: an individual

whom ENGSTROM believed to be a 13 year-old girl, to engage in sexual activity for which

a person can be charged with a criminal offense, to wit: rape in the second degree, in

violation of New York Penal Law Section 130.30(1), and criminal sexual act in the second

degree, in violation of New York Penal Law Section 130.45(1).

(Title 18, United States Code, Sections 2422(b) and 3551 et seq.)
CRIMINAL FORFEITURE ALLEGATION
2. The United States hereby gives notice to the defendant that, upon his
conviction of the offense charged herein, the government will seek forfeiture in accordance
with Title 18, United States Code, Section 2428(a), which requires the forfeiture of: (a) any
property, real or personal, that was used or intended to be used to commit or to facilitate the
commission of such offense; and (b) any property, real or personal, constituting, or derived
from, proceeds obtained directly or indirectly as a result of such offense, including, but not
limited to, a Google Pixel cellular telephone seized from the defendant on or about
December 16, 2023 in Valley Stream, New York.
3. If any of the above-described forfeitable property, as a result of any act
or omission of the defendant:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) _ has been placed beyond the jurisdiction of the court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be

divided without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the forfeitable
property described in this forfeiture allegation.

(Title 18, United States Code, Section 2428(a); Title 21, United States Code,

Section 853(p))
A TRUE BILL
La
By Carole Pokiorngs Masestant AS. Aeloaney,
BREON PEACE
UNITED STATES ATTORNEY

EASTERN DISTRICT OF NEW YORK
F. #2023R00977

FORM DBD-34
JUN. 85

No.

UNITED STATES DISTRICT COURT
EASTERN District of NEW YORK
CRIMINAL DIVISION

THE UNITED STATES OF AMERICA

VS.

DOUGLAS ENGSTROM,

Defendant.

INDICTMENT

(T. 18, U.S.C., §§ 2422(b), 2428(a) and 3551 et seq.;
T. 21, U.S.C., § 853(p))

A true bill, <—2 £
ON Te Wass
Filedin opencourtthis, = day,
of A.D. 20

Clerk
Bail, $

James R. Simmons, Assistant U.S. Attorney (718) 254-7511
